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                                                                     Official Form 6 - Summary (10/06)


                                                                                                                                       Southern District of Texas

                                                                     IN RE:                                                                                                                Case No. 06-34686
                                                                     Bunch, Newton L.                                                                                                      Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                                                               $
                                                                                                                                      Yes                      1                 47,500.00


                                                                      B - Personal Property                                                                           $
                                                                                                                                      Yes                      3                 69,790.00


                                                                      C - Property Claimed as Exempt
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                                                                                                                                      Yes                      1


                                                                      D - Creditors Holding Secured Claims                                                                                     $
                                                                                                                                      Yes                      1                                                 0.00

                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                                                                               $
                                                                          Claims                                                      Yes                      1                                                 0.00

                                                                      F - Creditors Holding Unsecured
                                                                                                                                                                                               $
                                                                          Nonpriority Claims                                          Yes                      2                                        126,921.00

                                                                      G - Executory Contracts and Unexpired
                                                                          Leases                                                      Yes                      1


                                                                      H - Codebtors
                                                                                                                                      Yes                      1

                                                                      I - Current Income of Individual
                                                                                                                                                                                                                         $
                                                                          Debtor(s)                                                   Yes                      1                                                                     1,558.00

                                                                      J - Current Expenditures of Individual
                                                                                                                                                                                                                         $
                                                                          Debtor(s)                                                   Yes                      1                                                                     1,785.00


                                                                                                                                      TOTAL                           $                        $
                                                                                                                                                             13                117,290.00               126,921.00




                                                                     SUMMARY OF SCHEDULES
                                                                                             Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 2 of 26
                                                                                                                                United States Bankruptcy Court
                                                                                                                                   Southern District of Texas

                                                                     IN RE:                                                                                        Case No. 06-34686
                                                                     Bunch, Newton L.                                                                              Chapter 7
                                                                                                                        Debtor(s)

                                                                                                STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                                                                                                 [Individual Debtors Only]
                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                                Amount

                                                                      Domestic Support Obligations (from Schedule E)

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)

                                                                      Claims for Death or Personal Injury While Debtor was Intoxicated (from Schedule E)

                                                                      Student Loan Obligations (from Schedule F)

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E
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                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)

                                                                                                                                                                               TOTAL     0.00




                                                                     STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                                                                                        Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 3 of 26
                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                Southern District of Texas

                                                                     IN RE:                                                                                                                                                                     Case No. 06-34686
                                                                     Bunch, Newton L.                                                                                                                                                           Chapter 7
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               2,150.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   2,150.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $       0.00

                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]
                                                                            INTERVIEW CLIENT, PREPARATION AND FILING OF SCHEDULES AND ATTENDANCE AT 341 MEETING.




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:
                                                                            POST 341 MEETING LITIGATION AND MOTION TO LIFT STAY, ETC.




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                               September 11, 2006                                                   /s/ Stephen Simonsen
                                                                                                               Date                                                                                                             Signature of Attorney

                                                                                                                                                                    Simonsen & Associates, P.C.
                                                                                                                                                                                                                                  Name of Law Firm

                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                                          Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 4 of 26
                                                                                                                  UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                        OF THE BANKRUPTCY CODE

                                                                               In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available
                                                                               from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
                                                                               bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you
                                                                               that the Attorney General may examine all information you supply in connection with a bankruptcy case. You
                                                                               are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                               advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
                                                                               employees cannot give you legal advice.

                                                                     1. Services Available from Credit Counseling Agencies
                                                                     With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
                                                                     relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
                                                                     provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy
                                                                     filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet)
                                                                     and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy
                                                                     administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling
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                                                                     agencies.
                                                                     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
                                                                     instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
                                                                     instructional courses.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
                                                                     Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                     1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
                                                                     whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
                                                                     permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and family
                                                                     size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
                                                                     Code. It is up to the court to decide whether the case should be dismissed.
                                                                     2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
                                                                     take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                     3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                     committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if
                                                                     it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                     4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
                                                                     be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
                                                                     settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel,
                                                                     or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
                                                                     fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
                                                                     discharged.

                                                                     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
                                                                     administrative fee: Total fee $274)
                                                                     1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in instalments
                                                                     over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
                                                                     Bankruptcy Code.
                                                                     2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
                                                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                                          Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 5 of 26
                                                                     using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending
                                                                     upon your income and other factors. The court must approve your plan before it can take effect.
                                                                     3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                     secured obligations.

                                                                     Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
                                                                     quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
                                                                     earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
                                                                     arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
                                                                     A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
                                                                     orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied
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                                                                     by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office
                                                                     of the United States Trustee, the Office of the United States Attorney, and other components and employees of the Department
                                                                     of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                     creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                     information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                     local rules of the court.

                                                                                                         Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this notice
                                                                     required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                        Social Security number (If the bankruptcy
                                                                     Address:                                                                                               petition preparer is not an individual, state
                                                                                                                                                                            the Social Security number of the officer,
                                                                                                                                                                            principal, responsible person, or partner of
                                                                                                                                                                            the bankruptcy petition preparer.)
                                                                                                                                                                            (Required by 11 U.S.C. § 110.)
                                                                     X
                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                                Certificate of the Debtor
                                                                     I (We), the debtor(s), affirm that I (we) have received and read this notice.



                                                                     Bunch, Newton L.                                                             X /s/ Newton L. Bunch                                        9/11/2006
                                                                     Printed Name(s) of Debtor(s)                                                     Signature of Debtor                                           Date


                                                                     Case No. (if known) 06-34686                                                 X
                                                                                                                                                      Signature of Joint Debtor (if any)                            Date



                                                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                                              Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 6 of 26
                                                                     IN RE Bunch, Newton L.                                                                                                  Case No. 06-34686
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant , community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint or “C” for Community in the column labeled
                                                                     “HWJC.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                   CURRENT VALUE OF
                                                                                                                                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S        W     PROPERTY WITHOUT         AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J       DEDUCTING ANY               CLAIM
                                                                                                                                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                       EXEMPTION

                                                                     PROPRTY LOCATED AT 16543 DESERT STAR DRIVE,                                                                                            47,500.00                        0.00
                                                                     CONROE, TX 77302
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                                                                                                                                                                                     TOTAL                  47,500.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY
                                                                                               Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 7 of 26
                                                                     IN RE Bunch, Newton L.                                                                                                 Case No. 06-34686
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint,
                                                                     or “C” for Community in the column labeled “HWJC.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule
                                                                     C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” In providing the
                                                                     information requested in this schedule, do not include the name or address of a minor child. Simply state “a minor child.”

                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                       N                                                                                              H    DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                              W     PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                              J       DEDUCTING ANY
                                                                                                                       E                                                                                              C     SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION

                                                                        1. Cash on hand.                                   CASH ON HAND                                                                                               1,200.00
                                                                        2. Checking, savings or other financial            WOODFOREST BANK CHECKING ACCOUNT #3189479                                                                     194.00
                                                                           accounts, certificates of deposit, or
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
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                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                CD $5, 2 RADIOS $10, COMPACT STEREO $25, 2 CB RADIOS                                                          470.00
                                                                           include audio, video, and computer              $20, COMPUTER $30, DINING TABLE & CHAIRS $25,
                                                                           equipment.                                      REFRIGERATOR $25, STOVE $25, MICROWAVE $10,
                                                                                                                           DISHWASHER $50, VACUUM CLEANER $20, MISC. DISHES $20,
                                                                                                                           MISC. POTS & PANS $20, SOFA $15, 2 END TABLES $10,
                                                                                                                           RECLINER $10, 5 LAMPS $10, 2 BOOKCASES $10, WINGBACK
                                                                                                                           CHAIR $10, MISC. TABLE $10, 2 BEDS $40, DRESSER $20, 4
                                                                                                                           NIGHT STANDS $20, 2 CHEST OF DRAWERS $20, FUTON $10
                                                                                                                           CIRCULAR SAW $3, DRILL $2, PAINT SPRAYER $5, 2 LADDERS                                                         50.00
                                                                                                                           $10, MISC. HAND TOOLS $30
                                                                                                                           ELECTRIC CHAIN SAW $5, MISC. GARDENING TOOL SET $10,                                                           95.00
                                                                                                                           GAS HEDGE TRIMMERS $20, LAWNMOWER $25, EDGER $10,
                                                                                                                           LEAF BLOWER $5, MISC. LAWN & GARDEN EQUIPMENT $20
                                                                        5. Books, pictures and other art objects,          40 MISC. BOOKS $20, 40 MISC. CDS $20, 2 DVDS $1                                                                41.00
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                            X
                                                                        7. Furs and jewelry.                               2 WATCHES                                                                                                      10.00
                                                                        8. Firearms and sports, photographic,              .22 PISTOL                                                                                                     30.00
                                                                           and other hobby equipment.                      .22 RIFLE                                                                                                      25.00
                                                                                                                           .38 RELVOVER                                                                                                   30.00
                                                                                                                           12 GAUGE MOSSBERG $50                                                                                          50.00
                                                                                                                           6 RODS & REELS $10, 2 TACKLE BOXES W/LURES $10,                                                                25.00
                                                                                                                           BINOCULARS $2, OUTDOOR COOKING EQUIPMENT $3
                                                                                                                           TREAD MILL $20, CAMERA $20, BICYCLE $30                                                                        70.00
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                             Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 8 of 26
                                                                     IN RE Bunch, Newton L.                                                                                    Case No. 06-34686
                                                                                                                            Debtor(s)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)

                                                                                                                                                                                                    CURRENT VALUE OF
                                                                                                                     N                                                                         H   DEBTOR'S INTEREST IN
                                                                                                                     O                                                                         W    PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                     DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                         J      DEDUCTING ANY
                                                                                                                     E                                                                         C    SECURED CLAIM OR
                                                                                                                                                                                                        EXEMPTION

                                                                      11. Interests in an education IRA as           X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(3). 11
                                                                          U.S.C. § 521(c); Rule 1007(b)).
                                                                      12. Interests in IRA, ERISA, Keogh, or             GUARANTY BANK IRA                                                                   7,000.00
                                                                          other pension or profit sharing plans.         IRA W/RAYMOND JAMES FINANCIAL SERVICES, INC.                                        3,000.00
                                                                          Itemize.
                                                                                                                         WESTERN IRA                                                                        47,000.00
                                                                      13. Stock and interests in incorporated        X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint         X
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                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owing debtor        X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) in customer lists or similar
                                                                          compilations provided to the debtor
                                                                          by individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             2003 CHEVROLET S10 PIKCUP EXTENDED CAB                                             10,500.00
                                                                          other vehicles and accessories.




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                            Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 9 of 26
                                                                     IN RE Bunch, Newton L.                                                                              Case No. 06-34686
                                                                                                                      Debtor(s)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)

                                                                                                                                                                                                    CURRENT VALUE OF
                                                                                                                N                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                O                                                                             W     PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                             J       DEDUCTING ANY
                                                                                                                E                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                        EXEMPTION

                                                                      26. Boats, motors, and accessories.       X
                                                                      27. Aircraft and accessories.             X
                                                                      28. Office equipment, furnishings, and    X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and   X
                                                                          supplies used in business.
                                                                      30. Inventory.                            X
                                                                      31. Animals.                              X
                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
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                                                                          not already listed. Itemize.




                                                                                                                                                                                       TOTAL                69,790.00
                                                                                                                                                                   (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                   Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                            Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 10 of 26
                                                                     IN RE Bunch, Newton L.                                                                                           Case No. 06-34686
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $125,000.
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     PROPRTY LOCATED AT 16543 DESERT                              Art. 16, §§ 50,51 Code §§ 41.001, 41.002                          47,500.00               47,500.00
                                                                     STAR DRIVE, CONROE, TX 77302
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     CD $5, 2 RADIOS $10, COMPACT STEREO Property Code §§ 42.001(a), 42.002(a)(8)                                                       470.00                   470.00
                                                                     $25, 2 CB RADIOS $20, COMPUTER $30,
                                                                     DINING TABLE & CHAIRS $25,
                                                                     REFRIGERATOR $25, STOVE $25,
                                                                     MICROWAVE $10, DISHWASHER $50,
                                                                     VACUUM CLEANER $20, MISC. DISHES
                                                                     $20, MISC. POTS & PANS $20, SOFA $15, 2
                                                                     END TABLES $10, RECLINER $10, 5
                                                                     LAMPS $10, 2 BOOKCASES $10,
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                                                                     WINGBACK CHAIR $10, MISC. TABLE $10,
                                                                     2 BEDS $40, DRESSER $20, 4 NIGHT
                                                                     STANDS $20, 2 CHEST OF DRAWERS $20,
                                                                     FUTON $10
                                                                     CIRCULAR SAW $3, DRILL $2, PAINT                             Property Code §§ 42.001(a), 42.002(a)(8)                               50.00                    50.00
                                                                     SPRAYER $5, 2 LADDERS $10, MISC.
                                                                     HAND TOOLS $30
                                                                     ELECTRIC CHAIN SAW $5, MISC.                                 Property Code §§ 42.001(a), 42.002(a)(8)                               95.00                    95.00
                                                                     GARDENING TOOL SET $10, GAS HEDGE
                                                                     TRIMMERS $20, LAWNMOWER $25,
                                                                     EDGER $10, LEAF BLOWER $5, MISC.
                                                                     LAWN & GARDEN EQUIPMENT $20
                                                                     40 MISC. BOOKS $20, 40 MISC. CDS $20, 2 Property Code § 42.002(a)(1)-(5), (7)-(10)                                                  41.00                    41.00
                                                                     DVDS $1
                                                                     2 WATCHES                                                    Property Code § 42.002(a)(6)                                           10.00                    10.00
                                                                     .38 RELVOVER                                                 Property Code §§ 42.001(a), 42.002(a)(7)                               30.00                    30.00
                                                                     12 GAUGE MOSSBERG $50                                        Property Code §§ 42.001(a), 42.002(a)(7)                               50.00                    50.00
                                                                     6 RODS & REELS $10, 2 TACKLE BOXES                           Property Code §§ 42.001(a), 42.002(a)(8)                               25.00                    25.00
                                                                     W/LURES $10, BINOCULARS $2,
                                                                     OUTDOOR COOKING EQUIPMENT $3
                                                                     TREAD MILL $20, CAMERA $20, BICYCLE                          Property Code §§ 42.001(a), 42.002(a)(8)                               70.00                    70.00
                                                                     $30
                                                                     GUARANTY BANK IRA                                            Property Code § 42.0021                                             7,000.00               7,000.00
                                                                     IRA W/RAYMOND JAMES FINANCIAL                                Property Code § 42.0021                                             3,000.00               3,000.00
                                                                     SERVICES, INC.
                                                                     WESTERN IRA                                                  Property Code § 42.0021                                           47,000.00               47,000.00
                                                                     2003 CHEVROLET S10 PIKCUP EXTENDED Property Code § 42.002(a)(1)-(5), (7)-(10)                                                  10,500.00               10,500.00
                                                                     CAB




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                             Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 11 of 26
                                                                     IN RE Bunch, Newton L.                                                                                                   Case No. 06-34686
                                                                                                                                 Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.

                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating “a minor child.” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                     üCheck this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                                                                                                    U
                                                                                                                                                                                                               C    N          AMOUNT OF CLAIM
                                                                                                                                     C                                                                         O    L   D     WITHOUT DEDUCTING
                                                                                                                                     O                                                                         N    I   I    VALUE OF COLLATERAL
                                                                                                                                     D    H                                                                    T    Q   S
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                                                                                 CREDITOR'S NAME, MAILING ADDRESS                                            DATE CLAIM WAS INCURRED,
                                                                                                                                     E    W                                                                    I    U   P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                NATURE OF LIEN, AND DESCRIPTION AND VALUE OF
                                                                                                                                     B    J                                                                    N    I   U
                                                                                         (See instructions above.)                                            PROPERTY SUBJECT TO LIEN
                                                                                                                                     T    C                                                                    G    D   T
                                                                                                                                     O                                                                         E    A   E    UNSECURED PORTION, IF
                                                                                                                                     R                                                                         N    T   D           ANY
                                                                                                                                                                                                               T    E
                                                                                                                                                                                                                    D

                                                                     Account No.




                                                                                                                                              Value $
                                                                     Account No.




                                                                                                                                              Value $
                                                                     Account No.




                                                                                                                                              Value $
                                                                     Account No.




                                                                                                                                              Value $
                                                                                                                                                                                                                Subtotal
                                                                               0 continuation sheets attached                                                                                       (Total of this page)

                                                                                                                                                 (Use only on last page of the completed Schedule D) TOTAL
                                                                                                                                                                                                       (Report total also on Summary of Schedules)




                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                             Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 12 of 26
                                                                     IN RE Bunch, Newton L.                                                                                                    Case No. 06-34686
                                                                                                                                 Debtor(s)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.
                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m).
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable on
                                                                     each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.” If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim
                                                                     is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X”
                                                                     in more than one of these three columns.)
                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Total” on the last sheet of the completed schedule. If applicable, also report this total on the Means Test form.

                                                                     üCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Domestic Support Obligations
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                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                          Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.



                                                                               0 continuation sheets attached



                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                             Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 13 of 26
                                                                     IN RE Bunch, Newton L.                                                                                                   Case No. 06-34686
                                                                                                                                 Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community maybe liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                                                                                    U
                                                                                                                                                                                                               C    N
                                                                                                                                     C                                                                         O    L   D
                                                                                                                                     O                                                                         N    I   I
                                                                                                                                     D    H                                                                    T    Q   S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                                     E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.            I    U   P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                                           AMOUNT OF CLAIM
                                                                                                                                     B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.                N    I   U
                                                                                         (See instructions above.)
                                                                                                                                     T    C                                                                    G    D   T
                                                                                                                                     O                                                                         E    A   E
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                                                                                                                                     R                                                                         N    T   D
                                                                                                                                                                                                               T    E
                                                                                                                                                                                                                    D

                                                                     Account No. 0842                                                         MEDICAL SERVICES
                                                                     ADNAN AFZAL MD
                                                                     P. O. BOX 540088
                                                                     HOUSTON, TX 77254-0088

                                                                                                                                                                                                                                         4,040.00
                                                                     Account No. 0487                                                         MEDICAL SERVICES
                                                                     ADNAN AFZAL MD
                                                                     P. O. BOX 540088
                                                                     HOUSTON, TX 77254-0088

                                                                                                                                                                                                                                            190.00
                                                                     Account No. 6112                                                         MEDICAL SERVICES
                                                                     GREATER HOUSTON ANESTHESIOLOGY
                                                                     P. O. BOX 200535
                                                                     HOUSTON, TX 77216-0535

                                                                                                                                                                                                                                         4,500.00
                                                                     Account No. 6872                                                         MEDICAL SERVICES
                                                                     MEDICAL CENTER EMERGENCY
                                                                     P. O. BOX 4590 DEPT. 06
                                                                     HOUSTON, TX 77210

                                                                                                                                                                                                                                         1,051.00
                                                                     Account No.                                                              MEDICAL SERVICES
                                                                     RAJNIKANT KUSHWAHA MD, PA
                                                                     17198 ST. LUKES WAY #500
                                                                     THE WOODLANDS, TX 77384

                                                                                                                                                                                                                                         1,150.00
                                                                                                                                                                                                                Subtotal
                                                                               1 continuation sheets attached                                                                                       (Total of this page)                10,931.00

                                                                                                                                                 (Use only on last page of the completed Schedule F) TOTAL
                                                                                                                                                                                                       (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                         Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 14 of 26
                                                                     IN RE Bunch, Newton L.                                                                                Case No. 06-34686
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)
                                                                                                                                                                                              U
                                                                                                                                                                                          C   N
                                                                                                                          C                                                               O   L    D
                                                                                                                          O                                                               N   I    I
                                                                                                                          D    H                                                          T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                       AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
                                                                                                                          T    C                                                          G   D    T
                                                                                                                          O                                                               E   A    E
                                                                                                                          R                                                               N   T    D
                                                                                                                                                                                          T   E
                                                                                                                                                                                              D

                                                                     Account No. SAPA                                              MEDICAL SERVICES
                                                                     SINGLETON ASSOCIATES PA
                                                                     12951 SOUTH FWY.
                                                                     HOUSTON, TX 77047-1920

                                                                                                                                                                                                                    169.00
                                                                     Account No. 4770                                              MEDICAL SERVICES
                                                                     SOUTHEAST TX CARDIOVASCULAR
                                                                     P. O. BOX 1398
                                                                     HOUSTON, TX 77251
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                                                                                                                                                                                                                  1,400.00
                                                                     Account No. bo61                                              MEDICAL SERVICES
                                                                     ST. LUKES EPISCOPAL HEALTH SYSTEM
                                                                     P. O. BOX 20805
                                                                     HOUSTON, TX 77225-0805

                                                                                                                                                                                                               113,681.00
                                                                     Account No. E000                                              MEDICAL SERVICES
                                                                     WAIL ASI, MD, PA
                                                                     P. O. BOX 8307
                                                                     THE WOODLANDS, TX 77387

                                                                                                                                                                                                                    740.00
                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                                                                                                                                            Subtotal
                                                                     Sheet no.         1 of       1 sheets attached to Schedule of                                              (Total of this page)           115,990.00
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL                 126,921.00
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                             Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 15 of 26
                                                                     IN RE Bunch, Newton L.                                                                                                      Case No. 06-34686
                                                                                                                                  Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in contract,
                                                                     i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
                                                                     contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C.
                                                                     § 112; Fed.R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                           STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                             STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                            Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 16 of 26
                                                                     IN RE Bunch, Newton L.                                                                                                Case No. 06-34686
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no codebtors.
                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     SCHEDULE H - CODEBTORS
                                                                                            Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 17 of 26
                                                                     IN RE Bunch, Newton L.                                                                                                Case No. 06-34686
                                                                                                                               Debtor(s)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Widow                                       RELATIONSHIP                                                                                          AGE




                                                                      EMPLOYMENT:                                             DEBTOR                                                                   SPOUSE
                                                                      Occupation                RETIRED
                                                                      Name of Employer
                                                                      How long employed
                                                                      Address of Employer



                                                                     INCOME: (Estimate of average monthly income)                                                                                         DEBTOR                     SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)                                   $                         $
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                                                                     2. Estimated monthly overtime                                                                                            $                         $
                                                                     3. SUBTOTAL                                                                                                              $                  0.00 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                         $
                                                                       b. Insurance                                                                                                           $                         $
                                                                       c. Union dues                                                                                                          $                         $
                                                                       d. Other (specify)                                                                                                     $                         $
                                                                                                                                                                                              $                         $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                  0.00 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $                  0.00 $

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                         $
                                                                     8. Income from real property                                                                                             $                         $
                                                                     9. Interest and dividends                                                                                                $                         $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                         $
                                                                     11. Social Security or other government assistance
                                                                       (Specify) SOCIAL SECURITY                                                                                              $            1,514.00 $
                                                                                                                                                                                              $                         $
                                                                     12. Pension or retirement income                                                                                         $                44.00 $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                         $
                                                                                                                                                                                              $                         $
                                                                                                                                                                                              $                         $

                                                                     14. SUBTOTAL OF INCOME REPORTED ON LINES 7 THROUGH 13                                                                    $            1,558.00 $
                                                                     15. TOTAL MONTHLY INCOME (Add amounts shown on Lines 6 through 14.)                                                      $            1,558.00 $

                                                                     16. TOTAL COMBINED MONTHLY INCOME $                                           1,558.00          (Report also on Summary of Schedules)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                            Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 18 of 26
                                                                     IN RE Bunch, Newton L.                                                                                             Case No. 06-34686
                                                                                                                              Debtor(s)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly, semi-annually,
                                                                     or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                          $
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                            $               150.00
                                                                         b. Water and sewer                                                                                                                         $                80.00
                                                                         c. Telephone                                                                                                                               $                25.00
                                                                         d. Other GARBAGE                                                                                                                           $                20.00
                                                                                                                                                                                                                    $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                       $                50.00
                                                                     4. Food                                                                                                                                        $               300.00
                                                                     5. Clothing                                                                                                                                    $                40.00
                                                                     6. Laundry and dry cleaning                                                                                                                    $                20.00
                                                                     7. Medical and dental expenses                                                                                                                 $                75.00
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                                                                     8. Transportation (not including car payments)                                                                                                 $               250.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                            $                25.00
                                                                     10. Charitable contributions                                                                                                                   $               350.00
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                 $                85.00
                                                                         b. Life                                                                                                                                    $
                                                                         c. Health                                                                                                                                  $
                                                                         d. Auto                                                                                                                                    $                25.00
                                                                         e. Other                                                                                                                                   $
                                                                                                                                                                                                                    $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify)                                                                                                                                  $
                                                                                                                                                                                                                    $
                                                                     13. Installment payments (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                    $
                                                                         b. Other                                                                                                                                   $
                                                                         c. Other                                                                                                                                   $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                           $
                                                                     15. Payments for support of additional dependents not living at your home                                                                      $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                               $
                                                                     17. Other ELDER CARE                                                                                                                           $                90.00
                                                                                   MiSC. EXPENSES                                                                                                                   $               200.00
                                                                                                                                                                                                                    $

                                                                     18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                               $             1,785.00

                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of
                                                                     this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Total monthly income from Line 16 of Schedule I                                                                                         $             1,558.00
                                                                         b. Total monthly expenses from Line 18 above                                                                                               $             1,785.00
                                                                         c. Monthly net income (a. minus b.)                                                                                                        $              -227.00

                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                            Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 19 of 26
                                                                     IN RE Bunch, Newton L.                                                                                      Case No. 06-34686
                                                                                                                                       Debtor(s)

                                                                                                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                            14 sheets, and that
                                                                                                                                                                                           (Total shown on summary page plus 1)
                                                                     they are true and correct to the best of my knowledge, information, and belief.


                                                                     Date: September 11, 2006                                 Signature: /s/ Newton L. Bunch
                                                                                                                                              Newton L. Bunch                                                                                  Debtor


                                                                     Date:                                                    Signature:
                                                                                                                                                                                                                                 (Joint Debtor, if any)
                                                                                                                                                                                       [If joint case, both spouses must sign.]

                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                   Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                  Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                       (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of                  sheets, and that they are true and correct to the best of my knowledge, information, and belief.
                                                                                                (Total shown on summary page plus 1)




                                                                     Date:                                                    Signature:


                                                                                                                                                                                         (Print or type name of individual signing on behalf of debtor)

                                                                                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                       Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                           Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 20 of 26
                                                                                                                             United States Bankruptcy Court
                                                                                                                                Southern District of Texas

                                                                     IN RE:                                                                                                       Case No. 06-34686
                                                                     Bunch, Newton L.                                                                                             Chapter 7
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                     stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
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                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 10,200.00 2006-INCOME FROM CONSULTING
                                                                                 16,000.00 2005-INCOME FROM CONSULTING
                                                                                 15,000.00 2004-INCOME FROM CONSULTING

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 10,598.00 SS-2006
                                                                                 16,000.00 SS-2005
                                                                                 15,000.00 SS-2004




                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                           Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 21 of 26

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
                                                                             of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,000.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü
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                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     STEPHEN SIMONSEN                                                 8/26/2006                                                            2,150.00
                                                                     318 N. MAIN



                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                           Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 22 of 26
                                                                     CONROE, TX 77301

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
                                                                      ü      similar device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                                                                                       TYPE AND NUMBER OF ACCOUNT                     AMOUNT AND DATE OF SALE
                                                                     NAME AND ADDRESS OF INSTITUTION                                   AND AMOUNT OF FINAL BALANCE                    OR CLOSING
                                                                     AMERGY                                                            CHECKING                                       $300-7/06

                                                                     12. Safe deposit boxes
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                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.




                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                           Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 23 of 26
                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
                                                                     [If completed by an individual or individual and spouse]
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                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: September 11, 2006                         Signature /s/ Newton L. Bunch
                                                                                                                      of Debtor                                                                               Newton L. Bunch

                                                                     Date:                                            Signature
                                                                                                                      of Joint Debtor
                                                                                                                      (if any)

                                                                                                                                        0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.




                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                                  Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 24 of 26
                                                                                                                                United States Bankruptcy Court
                                                                                                                                   Southern District of Texas

                                                                     IN RE:                                                                                                  Case No. 06-34686
                                                                     Bunch, Newton L.                                                                                        Chapter 7
                                                                                                                         Debtor(s)

                                                                                                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                         I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
                                                                         I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
                                                                         I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                                                                                                                              Property will  Debt will be
                                                                                                                                                                                               Property is    be redeemed     reaffirmed
                                                                                                                                                                               Property will   claimed as    pursuant to 11 pursuant to 11
                                                                     Description of Secured Property                           Creditor’s Name                                be Surrendered     exempt       U.S.C. § 722 U.S.C. § 524(c)

                                                                     None
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                                                                         09/11/2006               /s/ Newton L. Bunch
                                                                            Date                  Newton L. Bunch                                  Debtor                                              Joint Debtor (if applicable)

                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.

                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                               Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.


                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                              Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                          Case 06-34686 Document 8 Filed in TXSB on 09/11/06 Page 25 of 26
                                                                                                                   United States Bankruptcy Court
                                                                                                                      Southern District of Texas

                                                                     IN RE:                                                                                  Case No. 06-34686
                                                                     Bunch, Newton L.                                                                        Chapter 7
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: September 11, 2006               Signature: /s/ Newton L. Bunch
                                                                                                                         Newton L. Bunch                                                         Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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                                                                     VERIFICATION OF CREDITOR MATRIX
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